Case 2:04-cv-02949-BBD-dkv Document 17 Filed 08/31/05 Page 1 of 2 Page|D 16

F’|LED BY ____ D_Q
IN THE UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEBS AUG 3| PH h: 5b

WESTERN DIVISION
TI'DMAS M. GO{R IJ
BRENI)A HICKS § rCLEHK. U.S. 12tchle
§ W/D 95 `!]f»?, ;*FYEMDHlS
Pro Se Plaintiff, §
§
VS. § CIVIL ACTION NO. 2204-cV-2949-D
§
FEDERAL EXPRESS §
CORPORATION, §
§
Defendant. §

 

ORDER ON JOINT MOTION TO DISMISS WITH PREJUDICE

 

The Court, this day having considered the Joint Motion of the Parties for
dismissal With prejudice, and having concluded that the same should be granted, it is
accordingly

ORDERED ADIUDGED AND DECREED that this action be, and it hereby is,
dismissed With prejudice, each side to bear its own costs. It is further

ORDERED AD.TUDGED AND DECREED that all relief not expressly granted in
this Order is hereby denied

THIS IS A FINAL JUDGMENT.

Entered this ,é f day of (&j£¢ , 2005.

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STATE's DisrRiCT IUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l7 in
case 2:04-CV-02949 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

